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                                 3M4   o S ZO2~                United States Department of Justice

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                              S. DISTRI
                                                               William .J. Powell
                                              WV 2540i        United States Attorney
                                                              United States Attorney’s Office
                                                              Northern District of West Virginia
                                                              W. Craig Broadwater Federal Building
                                                              217 West King Street                 Phone: (304) 262-0590
                                                              Suite 400                             Fax: (304) 262-0591
                                                              Martinsburg, WV 25401


                                                              January 2, 2020


    Kirk H. Bottner, Esq.
    P.O. Box 344
    Charles Town, WV 25414

    In re:   United States v. Allen Craig,
             Criminal Action No.: 3:19-CR-17

    Dear Mr. Bottner:

            This will confirm conversations with you concerning your client, Allen Craig, (hereinafter
    referred to as “Defendant”). All references to the “Guidelines” refer to the guidelines established
    by the United States Sentencing Commission, effective November 1, 1987, as amended.

             It is agreed between the United States and your client as follows:

            I.      Defendant will plead guilty to Count One of the Indictment, Conspiracy to Possess
    with Intent to Distribute and to Distribute Heroin, Fentanyl, Cocaine Hydrochloride, and Cocaine
    Base, in violation of Title 21, United States Code, Sections 846, and 841(b)(1)(C).

            2.      The maximum penalty to which Defendant will be exposed by virtue of his guilty
    plea, as stated in paragraph one above is: imprisonment for a period of twenty (20) years, a fine
    of $1,000,000, and a term of at least three (3) years of supervised release.

           It is further understood by Defendant that there is a special mandatory assessment of
    $100.00 (18 U.S.C. § 3013) per felony conviction which must be paid within 40 days following
    entry of his plea by money order or certified check to the United States District Court. It is also



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  Allen Craig, Defendant                                      Date

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  Kirk Bottne                                                 Date

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    understood that Defendant may be required by the Court to pay the costs of his incarceration,
    supervision, and probation.

            3.     Defendant will be completely forthright and truthful with regard to all inquiries
    made of him and will give signed, sworn statements and grand jury and trial testimony relative
    thereto. Defendant will agree to submit to a polygraph examination if requested to do so by the
    United States Attorney’s Office for the Northern District of West Virginia.

            4.       A. Nothing contained in any statement or any testimony given by Defendant,
                     pursuant to paragraph three, will be used against him as the basis for any subsequent
                     prosecution. It is understood that any information obtained from Defendant in
                     compliance with this cooperation agreement will be made known to the sentencing
                     court; however, pursuant to Guideline 1BI.8, such information may not be used by
                     the Court in determining Defendant’s applicable guideline range.

                     B. This agreement does not prevent Defendant from being prosecuted for any
                     violations of other Federal and state laws he may have committed should evidence
                     of any such violations be obtained from an independent legitimate source, separate
                     and apart from that information and testimony being provided by him pursuant to
                     this agreement.

                     C. In addition, nothing contained in this agreement shall prevent the United States
                     from prosecuting Defendant for perjury or the giving of a false statement to a
                     federal agent, if such a situation should occur by virtue of his fulfilling the
                     conditions of paragraph 3 above.

            5.      At final disposition, the United States will advise the Court of Defendant’s
    forthrightness and truthfulness, or failure to be forthright and truthful, and ask the Court to give
    the same such weight as the Court deems appropriate. At sentencing, the United States will move
    to dismiss the remaining counts of the Indictment against Defendant.

             6.      There have been no representations whatsoever by any agent or employee of the
    United States, or any other law enforcement agency, or Defendant’s counsel as to what the final
    disposition in this matter should and will be.              This agreement includes nonbinding
    recommendations by the United States, pursuant to Rule I1(c)(l)(B); however, Defendant
    understands that the Court is not bound by these sentence recommendations, and that Defendant
    has no right to withdraw a guilty plea if the Court does not follow the sentencing recommendations
    set forth in this plea agreement.




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     Allen Craig, Defendant                                        Date

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     Kirk Bottner,                                                 Date

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            7.      The United States will make the following nonbinding recommendations:

                    A.            If, in the opinion of the United States Attorney’s Office, Defendant
                                  accepts responsibility and if the probation office recommends a two-
                                  level reduction for “acceptance of responsibility,” as provided by
                                  Guideline 3E1.1, then the United States will concur in and make such
                                  recommendation;

                    13.           Should Defendant give timely and complete information about his
                                  own criminal involvement and provide timely notice of his intent to
                                  plead guilty, thereby permitting the United States to avoid trial
                                  preparation and if he complies with all the requirements of this
                                  agreement, and if Defendant is eligible under the “Guidelines”,
                                  then United States will recommend an additional one level reduction,
                                  so long as Defendant executes the plea agreement on or before
                                  January 9, 2020 at 5:00 p.m. and returns an executed copy to the
                                  United States by that day; and

                    C.            The United States will recommend that any sentence of incarceration
                                  imposed should be at the low end of the applicable guideline range.

            8.     If in the opinion of the United States, Defendant either engages in conduct defined
    under the Applicable Notes of Guideline 3Cl.l, fails to cooperate as promised, or violates any
    other provision of this plea agreement, then the United States will not be bound to make the
    foregoing recommendations, and the Defendant will not have the right to withdraw the plea.

             9.     Pursuant to Sections 6B 1 .4, lB 1 .3, and 2D 1 .1 of the Guidelines, the parties hereby
    stipulate and agree that the total drug relevant conduct of the Defendant with regard to the
    Indictment is 6.07 grams of cocaine base and 0.3290 grams of cocaine hydrochloride. The
    parties understand that pursuant to Section 6B1.4(d), the Court is not bound by the above
    stipulation and is not required to accept the same. Defendant understands and agrees that should
    the Court not accept the above stipulation, Defendant will not have the right to withdraw his plea
    of guilty.

           10.    Defendant is aware that 18 U.S.C. § 3742 affords a Defendant the right to appeal
   the sentence imposed. Acknowledging this, and in exchange for the concessions made by the
   United States in this plea agreement, Defendant waives the following rights:

           A.      Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any other
                   statute or constitutional provision, to appeal the Defendant’s conviction on any


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    Allen Craig, Defendant                                          Date

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                 r, Esq.                                            Date

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                   ground whatsoever. This includes a waiver of all rights to appeal the Defendant’s
                   conviction on the ground that the statute(s) to which the defendant is pleading
                   guilty is unconstitutional, or on the ground that the admitted conduct does not fall
                   within the scope of the statute(s).

            13.    The Defendant knowingly and expressly waives all rights conferred by 1 8 U.s.c.
                   § 3742 to appeal whatever sentence is imposed (including any fine, term of
                   supervised release, or order of restitution) for any reason (including the
                   establishment of the advisory sentencing guidelines range, the determination of the
                   defendant’s criminal history, the weighing of the sentencing factors, and any
                   constitutional challenges to the calculation and imposition of any term of
                   imprisonment, fine, order of forfeiture, order of restitution, and term or condition
                   of supervised release).

            C.     To challenge the conviction or the sentence which is within the maximum provided
                   in the statute of conviction or the manner in which it was determined in any post-
                   conviction proceeding, including any proceeding under 28 U.S.C. § 2255.

            Nothing in this paragraph, however, will act as a bar to Defendant perfecting any legal
    remedies he may otherwise have on appeal or collateral attack respecting claims of ineffective
    assistance of counsel or prosecutorial misconduct. Defendant agrees that there is currently no
    known evidence of ineffective assistance of counsel or prosecutorial misconduct.

            This waiver of appellate rights is not intended to represent the Defendant’s estimation of
    what an appropriate or reasonable sentence would or should be. Nor does this waiver of rights
    prevent Defendant from arguing for a sentence below the aforementioned adjusted advisory
    Guideline offense level at sentencing. The United States waives its right to appeal any sentence
    within the applicable advisory Guideline range. Both parties have the right during any appeal to
    argue in support of the sentence.

            11.    The United States reserves the right to provide to the Court and the United States
    Probation Office, in connection with any presentence investigation that may be ordered pursuant
    to Rule 32(c) of the Federal Rules of Criminal Procedure, or in connection with the imposition of
    sentence should the Court, pursuant to Rule 32(c)(l), not order a presentence investigation,
    relevant information, including information regarding Defendant’s background, criminal record,
    the offense charged in the Indictment and other pertinent data appearing at Rule 32(c)(2) of the
    Federal Rules of Criminal Procedure, as will enable the Court to exercise its sentencing discretion.
    The United States also retains the right to respond to any questions raised by the Court, to correct
    any inaccuracies or inadequacies in the anticipated presentence investigation report to be prepared




     Allen Craig, Defendant                                      Date

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    by the Probation Office of the Court, and to respond to any written or oral statements made by the
    Court, by Defendant or his counsel.


           12.     Defendant understands that the forfeiture of property will be part of the sentence
    imposed in this case and agrees to the forfeiture of all property encompassed in the charging
    instrument’s Forfeiture Allegation.

            The defendant stipulates to the requisite nexus between conduct underlying the offense of
    conviction and the following property, which the defendant stipulates is proceeds obtained from
    his conduct underlying his offense of conviction, or is property that facilitated that conduct:
    $1,514.00 in United States Currency.

             Defendant hereby waives all interest in any property subject to this plea agreement in any
    administrative or judicial forfeiture proceeding, whether criminal or civil, state or federal. By
    signing this agreement Defendant hereby withdraws any claim the defendant may have filed in
    any administrative forfeiture action and agrees to the entry of a Declaration of Forfeiture.
    Defendant also agrees to consent to the entry of orders of forfeiture for such property and waives
    the requirements of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the
    forfeiture in the charging instrument, the announcement of the forfeiture at sentencing, and the
    incorporation of the forfeiture in the judgment. Defendant agrees to take all steps as requested by
    the United States to pass clear title to forfeitable assets to the United States, and to testify truthfully
    in any judicial forfeiture proceeding.

             Defendant also waives all constitutional and statutory challenges in any manner
    (including direct appeal, habeas corpus, or any other means) to any forfeiture carried out in
    accordance with this plea agreement on any grounds, including that the forfeiture constitutes an
    excessive fine or punishment. Defendant further waives any failure by the Court to advise
    Defendant of the applicable forfeiture at the time the guilty plea is accepted as required by Rule
    I 1(b)(l)(J).

           Defendant agrees to forfeit and abandon any right to any and all evidence and property
    seized during the course of this investigation (including but not limited to any item subject to
    forfeiture), and waives any right to seek the return of any property pursuant to Fed. R. Crim. P.
    41 or otherwise. Defendant understands and agrees that items seized during the course of this
    investigation will be destroyed or otherwise disposed of by the seizing law enforcement agency.

           13.    The defendant agrees that all monetary penalties imposed by the Court will be due
    and payable immediately and subject to immediate enforcement by the United States as provided
    in 18 U.S.C. § 3613. Furthermore, the defendant agrees to provide all requested financial


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     Allen Craig, Defendant                                          Date

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     Kirk Bottner,                                                   Date

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     information to the United States and the U.S. Probation Office, and agrees to participate in a pre
    sentencing debtor examination if requested by the U.S. Attorney’s Office. The defendant also
    authorizes the Financial Litigation Unit in the U.S. Attorney’s Office to access the defendant’s
    credit report from any major credit reporting agency prior to sentencing in order to assess his
    financial condition for sentencing purposes. The defendant agrees to complete a financial
    statement, under penalty ofperjury, and to submit the financial statement on the date specified and
    in accordance with instructions provided by the U.S. Attorney’s Office. The defendant further
    agrees that any schedule of payments imposed by the Court represents the defendant’s minimal
    financial obligation and shall not constitute the only method available to the United States to
    enforce or collect any criminal monetary penalty judgment. If the defendant is sentenced to a
    period of incarceration, the defendant agrees to participate in the Federal Bureau of Prisons’ Inmate
    Financial Responsibility Program, even if the Court does not specifically direct participation. In
    addition, the defendant agrees that the United States, through the Financial Litigation Unit, may
    submit any unpaid criminal monetary penalty to the United States Treasury for offset in accordance
    with the Treasury Offset Program, regardless of the defendant’s payment status or history at that
    time.

            In order to pay any outstanding criminal monetary penalties, the defendant agrees to a
    voluntary garnishment of 25% of all nonexempt net disposable earnings from any job or
    employment, to be withheld from his wages, salary or commissions, without prior demand for
    payment under the Federal Debt Collection Procedures Act, 28 U.S.C. § 3205. The defendant
    hereby also waives any exceptions that may be applicable under the Consumer Credit Protection
    Act, 15 U.S.C. § 1673.

            14.     Defendant understands that the United States Sentencing Guidelines are now
    advisory and no longer mandatory. It is therefore understood that the sentencing court may
    ascertain and impose a sentence below or above the applicable Guideline range, so long as that
    sentence is reasonable and within the statutory maximum specified in Title 18 of the United States
    Code for the offenses of conviction.

           15.      If Defendant’s plea is not accepted by the Court or is later set aside or if he breaches
    any part of this Agreement, then the Office of the United States Attorney will have the right to
    withdraw any sentencing recommendations and/or to void this Agreement.




    ___________                             ___                      /
     Allen Craig, Defendant                                         Date


     Kirk Bottner, E    .                                           Date

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           16.    The above fifteen (15) paragraphs constitute the entire agreement between
    Defendant and the United States of America in this matter. There are no agreements,
    understandings, or promises between the parties other than those contained in this
    Agreement.

                                                         Very truly yours,

                                                         WILLIAM J. POWELL
                                                         United States Attorney




                                                         By:     C. Lydia Lehman
                                                         Special Assistant United States Attorney




    As evidenced by my signature at the bottom of the seven (7) pages of this letter agreement, I have
    read and understand the provisions of each paragraph herein and, hereby, fully approve of each
    provision.




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    Allen Craig, Defendant                                      Date

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    Kirk Bottner, Esq.                                          Date

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